Case 8:08-cr-00223-AG Document 22-2 Filed 08/27/08 Page 1ofi Page ID #68

 

 

 

UNITED STATES DISTRICT COURT 0 R | G5 | N A L
CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, Initial Indictment:

PLAINTIFF(S) S A C R 0 8 * 2 2 3

Case Number to be Assigned by Criminal Intake Clerk

 

 

V.
Superseding Indictment:

JERRY FANYUAN LIN et al.,

 

Case Number

 

DEFENDANT(S).
NOTICE TO COURT OF COMPLEX

CRIMINAL CASE
(To Be Filed No Later than Two Business Days
Prior to the Time of Arraignment).

 

 

a

Wi Initial Indictment

|

|
Upon a careful review of the initial indictment, it is the opinion of the United Statqs Attorney’s Office

 

 

that this case qualifies as complex because: ; De

vf There are eight (8) or more defendants. The number of defendants is 17).

and/or a

Mw The presentation of the evidence in the Government’s case-in-chief (including cross-  -~
examination) will exceed twelve (12) trial days. The current estimate is__'20 __ trial days.

O Superseding Indictment

Upon acarefulreview ofthe ——————————_sSupeerseding indictment, it is the opinion of the United

States Attorney’s Office that this case now qualifies as complex because:

O) There are eight (8) or more defendants. The number of defendants is (The previous
number of defendants was ).

and/or

O The presentation of the evidence in the Government’s case-in-chief (including cross-

examination) will exceed twelve (12) trial days. The current estimate is al days.
(The previous estimate was trial days.) xy, f
Date: seen AUN | My

Assistant United States Mttorney

RY)

NOTICE TO COURT OF COMPLEX CRIMINAL CASE \ OZ

 

CR-63 (07/05)
